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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

GHASSAN ALASAAD, et al.,                              )
                                                      )
        Plaintiffs,                                   )
                                                      )
                 v.                                   )       Civil Action No. 17-cv-11730-DJC
                                                      )
KIRSTJEN NIELSEN, et al.,                             )
                                                      )
        Defendants.                                   )
                                                      )


                      JOINT MOTION TO EXTEND DISCOVERY DEADLINE
                              AND AMEND CASE SCHEDULE

        The parties jointly move the Court for an order extending by one month the deadline to

complete fact discovery and amending subsequent case deadlines. As grounds for this Motion,

the parties state:

        1.       The parties submitted their Joint Statement and Proposed Discovery Schedule on

July 9, 2018. ECF No. 58. The Court held a status conference on July 16, 2018 and issued a

scheduling order on July 20, 2018 setting a deadline of December 30, 2018 for the completion of

fact discovery regarding Defendants’ policies and practices and Plaintiffs’ standing. ECF No. 60.

The scheduling order also sets a status conference for January 14, 2019 and includes subsequent

deadlines for summary judgment briefing. Id.

        2.       Since the Court issued the scheduling order, the parties have diligently pursued

discovery on the topics set forth in the Joint Statement. The parties have propounded and

responded to interrogatories and requests for production, produced responsive documents, and

conferred repeatedly regarding various discovery issues. The parties have also negotiated over,

and agreed upon, stipulations of fact that have enabled the parties to narrow and focus the scope

of discovery.
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       3.       These efforts notwithstanding, the parties need a brief extension of time to

complete written discovery and document production, and to conduct a limited number of

focused depositions. Given the need to complete document discovery before conducting the

depositions, and the time required to identify and prepare witnesses for depositions, a one-month

extension of the discovery period is warranted.

       4.       The parties have agreed that all written discovery will be served on or before

December 7 and that notices of depositions will be sent on or before December 14, 2018.

       5.       The parties therefore jointly request that the case schedule be amended as follows:

                a. January 31, 2019: Close of fact discovery.

                b. March 1, 2019: Deadline for Plaintiffs’ motion for summary judgment.

                c. April 15, 2019: Deadline for Defendants’ opposition and cross-motion for
                                      1
                   summary judgment.

                d. May 15, 2019: Deadline for Plaintiffs’ opposition to Defendants’ cross-motion
                   for summary judgment and reply in support of their motion for summary
                   judgment.

       6.       The parties further request that the status conference currently set for January 14,

2019 be rescheduled as a telephonic status conference for February 14, 2019.

       7.       Accordingly, because good cause exists for a one-month extension of the

discovery period, the parties jointly move to extend the deadline for discovery until January 31,

2019, and to amend the subsequent case deadlines as set forth above.

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        One of the counsel for Defendants has a previously scheduled international trip from
March 24, 2018 through April 6, 2018, and Defendants therefore request extra time to file this
brief.
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Respectfully submitted,                         Dated: December 6, 2018

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                                      Certificate of Service

        I certify that this document(s) filed through the ECF system will be sent electronically to
the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      /s/ Hugh Handeyside




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